













NO. 12-10-00334-CR

&nbsp;

IN THE COURT OF APPEALS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;

TWELFTH COURT OF APPEALS DISTRICT

&nbsp;

TYLER, TEXAS

MICHAEL KENNEDY,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;
§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE THIRD

APPELLANT&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;
§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL DISTRICT COURT OF

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

THE STATE OF TEXAS,&nbsp;&nbsp;&nbsp; 

APPELLEE&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;
§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ANDERSON COUNTY, TEXAS&nbsp;&nbsp;&nbsp;&nbsp; 







MEMORANDUM
OPINION

PER
CURIAM

Appellant
Michael Kennedy was convicted of burglary of a building for which sentence was
imposed on September 16, 1986.&nbsp; This court affirmed the conviction, see Kennedy
v. State, No. 12-86-00248-CR (Tex. App.–Tyler Feb. 25, 1988, no pet.)
(not designated for publication), and issued its mandate on April 13, 1988.&nbsp; On
October 4, 2010, Appellant filed a notice of appeal seeking relief from the
final judgment.&nbsp; 

On
October 8, 2010, this court notified Appellant, pursuant to Texas Rule of
Appellate Procedure 37.2, that the information received in this appeal does not
contain a final judgment or other appealable order.&nbsp; Appellant was further
informed that the appeal would be dismissed if the information received in the
appeal was not amended on or before November 8, 2010, to show the jurisdiction
of this court.&nbsp; In response to this court’s notice, Appellant filed a motion
requesting an additional forty-five days to provide a final judgment or other
appealable order.&nbsp; 

After
considering Appellant’s motion and the procedural history of the underlying
case, Appellant’s motion for extension of time is overruled, and the appeal is dismissed
for want of jurisdiction.&nbsp; See Tex.
R. App. P. 37.1, 42.3.&nbsp; All pending motions are overruled as moot.

Opinion delivered November 10, 2010.

Panel consisted of
Worthen, C.J., Griffith, J., and Hoyle, J.

(DO NOT PUBLISH)





